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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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11 CHARLES LARRY CREWS, JR.,                    Case No. 2:22-cv-01524-JLS-E
   Individually and on Behalf of All Others
12 Similarly Situated,                          ORDER GRANTING STIPULATION
13                       Plaintiffs,            TO AMEND THE SCHEDULING
                                                ORDER (Doc. 438)
14                v.
15 RIVIAN AUTOMOTIVE, INC., et al.,
16                      Defendants.
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                                  #:24641
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                                  #:24642
